Case 8:18-cv-00157-JLS-AGR Document 26 Filed 10/18/18 Page 1 of 6 Page ID #:1712



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-0157-JLS-AGR                                        Date: October 18, 2018
  Title: Alfonso Lares v. Reliable Wholesale Lumber, Inc.

      Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

          Terry Guerrero                                                N/A
          Deputy Clerk                                             Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF:               ATTORNEYS PRESENT FOR DEFENDANT:

                   Not Present                                     Not Present

  PROCEEDINGS:          (IN CHAMBERS) ORDER GRANTING PLAINTIFF’S MOTION
                        TO ENTER CONSENT DECREE (Doc. 16)

         Before the Court is Plaintiff Alfonso Lares’s Motion to Enter Consent Decree.
  (Mot., Doc. 16.) Intervenor the United States filed an opposition. (Opp., Doc. 21.)1
  Plaintiff filed a reply (Reply, Doc. 22.) The Court finds this matter appropriate for
  decision without oral argument. Fed. R. Civ. P. 78; C.D. Cal. R. 7-15. Accordingly, the
  hearing set for October 19, 2018, at 2:30 p.m. is removed from the calendar. For the
  reasons given below, the Court GRANTS Plaintiff’s Motion.

  I.       Background

          Defendant Reliable Wholesale Lumber, Inc. owns and operates a combination
  sawmill, planing mill and lumber yard located at 1450 Citrus St., Riverside, California
  (the “Facility”). (Ex. 1 to Smith Decl., Revised Proposed Consent Decree (“RPCD”),
  Doc 18-1 at 2.) Stormwater and other discharges from the Facility are subject to a
  National Pollutant Discharge Elimination System General Permit, as amended (the
  “Permit”) in accordance with the Federal Water Pollution Control Act, 33 U.S.C. §§ 1251
  et seq. (“Clean Water Act” or “CWA”). (Id.) Plaintiff is a California citizen who uses
  and enjoys the Santa Ana River and other waters in the Santa Ana River Watershed.

  1
   The Court granted the United States leave to intervene for the limited purpose of addressing
  entry of the Consent Decree. (Doc. 20.)
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                                CIVIL MINUTES – GENERAL                                         1
Case 8:18-cv-00157-JLS-AGR Document 26 Filed 10/18/18 Page 2 of 6 Page ID #:1713



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-0157-JLS-AGR                                        Date: October 18, 2018
  Title: Alfonso Lares v. Reliable Wholesale Lumber, Inc.
  (Compl., Doc. 1 ¶ 9.) On December 1, 2016, Plaintiff sent Defendant a Notice of
  Violation and Intent to File Suit under the Clean Water Act (the “NOV”) alleging
  unlawful discharges by Defendant into the Santa Ana River Watershed and failure by
  Defendant to lawfully monitor and manage stormwater runoff. (Ex. 1 to Compl., Doc. 1-
  1.) Plaintiff concurrently delivered copies of the NOV to the United States
  Environmental Protection Agency, the California State Water Resources Control Board,
  and the Santa Ana Water Quality Control Board. (RPCD at 2.) The parties then
  undertook extensive pre-litigation investigation of the claims and settlement negotiations.
  (See, e.g., Smith Decl., Doc. 18 ¶ 17; Ex. 8 to Smith Decl., Report of Mainline
  Environmental, Doc. 18-8.)
         On January 29, 2018, Plaintiff filed a complaint alleging four causes of action, all
  mirroring the allegations made in the NOV: (1) unlawful discharges; (2) failure to
  implement practices to curtail pollutant discharges; (3) failure to develop and implement
  an adequate Stormwater Pollution Prevention Plan (“SWPPP”); and (4) failure to develop
  and implement an adequate monitoring and reporting program. (Compl. ¶¶ 79-112.)
  Shortly thereafter, on February 12, 2018, Plaintiff filed a Notice of Settlement and
  Proposed Consent Decree, triggering a 45-day period for review by the United States
  pursuant 33 U.S.C. § 1365(c)(3).2 (Doc. 10.) Upon completing its review, the United
  States filed a Statement of Concern taking issue with several aspects of the RPCD,
  including: (1) Plaintiff’s counsel’s modus operandi with respect to CWA suits; (2) the
  limited scope and enforceability of the proposed injunctive relief; (3) the strength of the
  underlying claims; and (4) the reasonableness of Plaintiff’s counsel’s attorneys’ fees.
  (Doc. 14.) In response to the Statement of Concern, the Court ordered Plaintiff to file a
  motion to enter the RPCD “that demonstrates:
         1) Plaintiff Lares meets the requirements of Article III and Clean Water Act
         citizen-suit prudential standing;


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   The review period was twice extended. (See Docs. 11, 13.) The RPCD is the result of revisions
  made to the initial Proposed Consent Decree during the review period after the United States
  advised Plaintiff of concern with a certain payment included in the initial Proposed Consent
  Decree.

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                           CIVIL MINUTES – GENERAL                            2
Case 8:18-cv-00157-JLS-AGR Document 26 Filed 10/18/18 Page 3 of 6 Page ID #:1714



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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-0157-JLS-AGR                                      Date: October 18, 2018
  Title: Alfonso Lares v. Reliable Wholesale Lumber, Inc.
        2) the specific and separate factual basis for each of Plaintiff’s four causes of
        action and how those allegations result in actual violations of the Clean Water Act;
        3) how the injunctive relief described in the Proposed Consent Decree furthers the
        goals of the Clean Water Act;
        4) the relationship between the violations being enforced and the proposed
        environmental project;
        5) how the requirements of the Proposed Consent Decree will be enforced; and,
        6) the reasonableness of the proposed settlement of attorneys’ fees and costs.”
  (Order, Doc. 15 at 1-2.) Plaintiff’s Motion now responds to that Order.

 II.     Legal Standard

          Consent decrees are hybrids of private settlement agreements and public
  judgements. Sierra Club, Inc. v. Electronic Controls Design, Inc., 909 F.2d 1350, 1355
  (9th Cir. 1990). Respecting the parties’ negotiations, “a district court should enter a
  proposed consent [decree] if the court decides that it is fair, reasonable and equitable and
  does not violate the law or public policy.” Id. (citing Citizens for a Better Environment v.
  Gorsuch, 718 F.2d 1117, 1125-26 (D.C. Cir. 1983). That is, “the focus of the court’s
  attention in assessing the agreement should be the purposes which the statute is intended
  to serve, rather than the interests of each party to the settlement.” Citizens for a Better
  Environment, 718 F.2d at 1125. Hence, “[a]s long as the consent decree comes ‘within
  the general scope of the case made by the pleadings,’ furthers ‘the objectives upon which
  the law is based,’ and does not ‘violate the statute upon which the complaint was based,’
  the parties’ agreement may be entered by the court.” Sierra Club, 909 F.2d at 1355
  (quoting Local No. 93, Int’l Ass’n of Firefighters, AFL-CIO v. City of Cleveland, 478
  U.S. 501, 525-26 (1986)).
          However, “a consent decree that affects the public interest or third parties imposes
  a heightened responsibility on the court to protect those interests.” United States v. State
  of Oregon, 913 F.2d 576, 581 (9th Cir. 1990). To fulfill the public interest objectives of
  the CWA, a consent decree must actually further public environmental preservation.
  Courts should be skeptical of agreements which award plaintiffs and their counsel fees or
  other private gain but lack substantial injunctive relief or enforcement mechanisms. See
  Staton v. Boeing Co., 327 F.3d 938, 952–53 (9th Cir. 2003). This skepticism was the
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                           CIVIL MINUTES – GENERAL                            3
Case 8:18-cv-00157-JLS-AGR Document 26 Filed 10/18/18 Page 4 of 6 Page ID #:1715



      ____________________________________________________________________________
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-0157-JLS-AGR                                          Date: October 18, 2018
  Title: Alfonso Lares v. Reliable Wholesale Lumber, Inc.
  impetus for the Court’s Order requiring that Plaintiff describe specifically how the RPCD
  will promote a cleaner Santa Ana River; four of the Order’s six criteria addressed the
  relationship between the alleged violations and the RPCD’s purported remedies.

III.       Discussion

          Plaintiff’s Motion satisfies the Court’s request for more information and
  demonstrates the propriety and utility of the RPCD. First, Plaintiff adequately lays out
  ample factual bases for each of his claims. Were the allegations of environmental
  degradation merely “generalized and conclusory,” lacking specific facts indicative of
  potential CWA violations, then the Court would question the RPCD’s ability to remedy
  such nebulously-defined harm. (Statement of Concern at 25-26.) Here, however, the
  Complaint, the NOV, and the Motion plainly detail specific instances of action (or
  failures to act) that are ripe for injunctive relief. (See, e.g., Compl. ¶¶ 63-78; NOV at 3-8;
  Mainline Report at 1-2.) Indeed, the record shows that measures adopted by Defendant
  as a result of settlement negotiations in this case are already having positive effects. (Ex.
  30 to Smith Decl., Expert Report of George Caamano, Doc. 18-30 at 3.) The Court is
  satisfied that continued implementation and enforcement of these measures through the
  RPCD will promote the public interest in a cleaner Santa Ana River Watershed.
        Curiously, the United States appears to have abandoned its position that Plaintiff’s
  alleged facts are too imprecise to form the basis for specific injunctive relief. Instead, the
  Opposition contends that the alleged environmentally damaging conduct may not amount
  to legal liability. (Opp. at 5-11.)3 But determinations of litigation risk are predominantly
  private assessments best left to the parties; the Court’s duty today is to ensure that the
  public’s interest in pollution-free waterways is furthered by an otherwise private
  agreement. State of Oregon, 913 F.2d at 581 (noting heightened review of a consent
  decree “is intended to protect those who did not participate in negotiating the


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    More curious still, the United States does not contend that the supposed weakness of Plaintiff’s
  claims should erode confidence in the robustness of the RPCD’s environmental protections.
  Rather, the Opposition cites this perceived weakness only as a reason to reduce Plaintiff’s
  counsel’s fees. (See id.)
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                                  CIVIL MINUTES – GENERAL                                        4
Case 8:18-cv-00157-JLS-AGR Document 26 Filed 10/18/18 Page 5 of 6 Page ID #:1716



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-0157-JLS-AGR                                             Date: October 18, 2018
  Title: Alfonso Lares v. Reliable Wholesale Lumber, Inc.
  compromise, not those who negotiated it”) (emphasis original).4 Here, Defendant elected
  not to litigate the strength of Plaintiff’s factual allegations, and the Court will not second-
  guess that determination.
          The injunctive relief ordered by the RPCD is both specific and substantial.
  Among other environmental protections, the RPCD overhauls Defendant’s allegedly
  noncompliant SWPPP and implements many best-practices for stormwater management,
  including a vacuum truck to clean up contaminated debris and filters on downspouts to
  prevent certain discharges. (See generally RPCD.) It also requires Defendant to
  implement cleaning, training and reporting programs to facilitate compliance, as well as
  continued monitoring and inspection by Plaintiff and a Qualified Industrial Stormwater
  Practitioner. (Id.) The Court is confident these comprehensive measures will promote
  the public interest and are more than just lip-service to a cleaner environment.
          The United States spends the bulk of its Opposition attacking Plaintiff’s counsel’s
  fees awarded by the RPCD, insisting the award is unjustified due to (1) the weakness of
  Plaintiff’s claims, (2) inflated hours, and (3) inflated rates. (See Opp. at 4-22.) As noted
  above, the Court is not inclined to second-guess a sophisticated defendant’s own
  assessment of liability sua sponte. Indeed, that the RPCD awards Plaintiff’s attorneys
  just 51% of their claimed lodestar suggests that Defendant−represented by competent,
  experienced counsel−exercised considerable leverage during negotiations.5 Moreover,
  the United States’ arguments against Plaintiff’s counsel’s fees are, frankly, scattershot.
  First, the United States does not address the already-negotiated fee reduction.
  Additionally, the government cites authority for using the seat of the District Court as the
  relevant community for determining reasonable hourly rates, but then avers that
  Plaintiff’s counsel’s main office location in Pennsylvania should affect rates commanded
  by attorneys working out of an office in the Los Angeles metropolitan area on a matter

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    “Furthermore, the court need not require that the decree be ‘in the public's best interest’ if it is
  otherwise reasonable. Id. (quoting Securities and Exchange Commission v. Randolph, 736 F.2d
  525, 529 (9th Cir. 1984) (emphasis original).
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    Plaintiff’s counsel provided time summaries and lodestar calculations totaling $105,593.25 in
  attorney fees. (Smith Decl. ¶ 29; Ex. 43 to Smith Decl., Doc. 18-43.) The RPCD awards
  Plaintiff’s counsel $54,000 to reimburse fees and costs, which is approximately 51% of what
  Plaintiff asserts is the full lodestar amount. (RPCD at 10.)
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                                     CIVIL MINUTES – GENERAL                                           5
Case 8:18-cv-00157-JLS-AGR Document 26 Filed 10/18/18 Page 6 of 6 Page ID #:1717



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-0157-JLS-AGR                                          Date: October 18, 2018
  Title: Alfonso Lares v. Reliable Wholesale Lumber, Inc.
  before this Court. (Opp. at 15-16 (citing Prison Legal News v. Schwarzenegger, 608 F.3d
  446, 454 (9th Cir. 2010)).) Finally, the United States questions the number of hours
  submitted by Plaintiff’s counsel based on an incomplete review of the facts.6
          Regardless, the Court need not enter the minefield of hours, rates, and lodestar
  calculations and adjustments because no fee petition is at issue. Cf. Staton, 327 F.3d at
  945 (“[T]o obtain fees justified on a common fund basis, the class’s lawyers must
  ordinarily petition the court for an award of fees, separate from and subsequent to
  settlement.”). In the context of the time, effort and skill needed to negotiate the RPCD,
  and in proportion to the relief achieved, the Court finds a $54,000 award both reasonable
  and consistent with public policy.
          The United States’ argument that the RPCD should be amended to resolve latent
  ambiguities is unavailing. The parties have not raised concerns with the document’s
  clarity and the mere possibility of a future dispute over its terms is not enough for the
  Court to compel them to revisit their duly-negotiated agreement.

  IV.     Conclusion

        For the foregoing reasons, the Court GRANTS Plaintiff’s Motion to Enter Consent
  Decree. Plaintiff is further ORDERED to submit the RPCD, in final form suitable for the
  Court’s signature, with the Clerk within five (5) days of the date of this Order.




                                                               Initials of Preparer: gga



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    In attacking Plaintiff’s counsel’s claimed hours, the government insists that the bulk of relief
  was achieved very quickly. (Id. at 11.) This assertion focuses on a revision log that shows
  Defendant’s SWPPP was updated just three weeks after Plaintiff filed the NOV in December
  2016. (Id.) Plaintiff, however, catalogues a year-long process of negotiation and
  implementation that culminated with a substantially overhauled SWPPP in December 2017. (See,
  e.g., Reply at 2 (describing revision history of Defendant’s SWPPP); Caamano Report at 2.)

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                           CIVIL MINUTES – GENERAL                            6
